                      Case 2:20-cr-00817-JMV UNITED
                                              Document     9ISTRICT
                                                    STATES D   FiledCOURT
                                                                     09/25/20 Page 1 of 3 PageID: 35
                                   for the                District of                              New Jersey

                      United States of America
                                                                                           AMENDED ORDER SETTING
                                   v.                                                      CONDITIONS OF RELEASE

                     Lisa Curty
                            Defendant                                                            Case Number: 20-817



 IT IS ORDERED on this 2 5 t h day of September, 2020, that the release of the defendant is subject to the following conditions:

           (1) The defendant must not violate any federal, state or local law while on release.
           (2) The defendant must cooperate in the collection of a DNA sample if the collection is authorized by
               42 U.S.C. § 14135a.
           (3) The defendant must immediately advise the court, defense counsel, and the U.S. attorney in writing before
               any change in address and/or telephone number.
           (4) The defendant must appear in court as required and must surrender to serve any sentence imposed.

                                                                  Release on Bond

 Bail be fixed at $ 100,000 and the defendant shall be released upon:

         (X )    Executing an unsecured appearance bond ( ) with co-signor(s)                                           ;
         ( )     Executing a secured appearance bond ( ) with co-signor(s)                                              , and ( ) depositing
                 in cash in the registry of the Court   % of the bail fixed; and/or ( ) execute an agreement to forfeit designated property
                 located at                                                    . Local Criminal Rule 46.1(d)(3) waived/not waived by the
                 Court.
         ( )     Executing an appearance bond with approved sureties, or the deposit of cash in the full amount of the bail in lieu thereof;

                                                         Additional Conditions of Release

 Upon finding that release by the above methods will not by themselves reasonably assure the appearance of the defendant and the safety of
 other persons and the community, it is further ordered that the release of the defendant is subject to the condition(s) listed below:

 IT IS FURTHER ORDERED that, in addition to the above, the following conditions are imposed:

        (X ) Report to Pretrial Services (“PTS”) as directed and advise them immediately of any contact with law enforcement personnel,
             including but not limited to, any arrest, questioning or traffic stop.
        ( ) The defendant shall not attempt to influence, intimidate, or injure any juror or judicial officer; not tamper with any witness,
             victim, or informant; not retaliate against any witness, victim or informant in this case.
        ( ) The defendant shall be released into the third party custody of                                             who agrees (a) to
             supervise the defendant in accordance with all the conditions of release, (b) to use every effort to assure the appearance of
             the defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the defendant violates
             any conditions of release or disappears.


                 Custodian Signature:                                         Date: _




DNJ-CR-019((REV. 1/09)(modified AO-199)                                                                                               Page 1
                       Case 2:20-cr-00817-JMV Document 9 Filed 09/25/20 Page 2 of 3 PageID: 36
         (X )   The defendant’s travel is restricted to ( X ) New York (X ) Other: New Jersey for court purposes only (X )
                 unless approved by Pretrial Services (PTS).
         (X ) Surrender all passports and travel documents to PTS. Do not apply for new travel documents.
         ( ) Substance abuse testing and/or treatment as directed by PTS. Refrain from obstructing or tampering with
                 substance abuse testing procedures/equipment.
         ( ) Refrain from possessing a firearm, destructive device, or other dangerous weapons. All firearms in
                 any home in which the defendant resides shall be removed by and verification provided to PTS.
         ( ) Mental health testing/treatment
         is directed by Pretrial Services.
         ( ) Abstain from the use of
         alcohol.
         ( ) Maintain current residence or a residence approved by PTS.
         ( ) Maintain or actively seek employment and/or commence an education program.
         ( ) No contact with minors unless in the presence of a parent or guardian who is aware of the present offense.
         (X ) Have no contact with the following individuals: co-defendants and/or co-conspirators unless in the presence of
         counsel.
         ( ) Defendant is to participate in one of the following home confinement program components and abide by all
                 the requirements of the program which ( ) will or ( ) will not include electronic monitoring or other
                 location verification system. You shall pay all or part of the cost of the program based upon your ability to
                 pay as determined by the pretrial services office or supervising officer.

                   (   )   (i) Curfew. You are restricted to your residence every day ( ) from               to        _,
                               or ( ) as directed by the pretrial services office or supervising officer; or
                   (   ) (ii) Home Detention. You are restricted to your residence at all times except for the following:
                               education; religious services; medical, substance abuse, or mental health treatment;
                               attorney visits; court appearances; court-ordered obligations; or other activities pre-
                               approved by the pretrial services office or supervising officer. Additionally,
                               employment ( ) is permitted ( ) is not permitted.
                   (   ) (iii) Home Incarceration. You are restricted to your residence under 24 hour lock-down except
                               for medical necessities and court appearances, or other activities specifically
                               approved by the court.

          (     ) Defendant is subject to the following computer/internet restrictions which may include manual
                  inspection and/or the installation of computer monitoring software, as deemed appropriate by
                  Pretrial Services. The defendant shall pay all or part of the cost of the monitoring software based
                  upon their ability to pay, as determined by the pretrial services office or supervising officer.

                   (   ) (i) No Computers - defendant is prohibited from possession and/or use of computers or
                           connected devices.
                   (   ) (ii) Computer - No Internet Access: defendant is permitted use of computers or connected
                           devices, but is not permitted access to the Internet (World Wide Web, FTP Sites, IRC
                           Servers, Instant Messaging, etc);
                   (   ) iii) Computer With Internet Access: defendant is permitted use of computers or connected
                                 devices, and is permitted access to the Internet (World Wide Web, FTP Sites, IRC
                                 Servers, Instant Messaging, etc.) for legitimate and necessary purposes pre-approved by
                                 Pretrial
                                 Services at [ ] home [ ] for
                                 employment purposes.
                   (   ) (iv) Consent of Other Residents -by consent of other residents in the home, any computers
                                 in the home utilized by other residents shall be approved by Pretrial Services, password
                                 protected by a third party custodian approved by Pretrial Services, and subject to
                                 inspection for compliance by Pretrial Services.

                   (X ) Other: Due to the COVID-19 pandemic, the defendant has not yet been processed by the
                   United States Marshals Service (USMS) for the instant arrest. The defendant shall report to the
                   United States Marshal Services in Newark, New Jersey for processing at a date to be determined.

DNJ-CR-019((REV. 1/09)(modified AO-199)                                                                                          Page 2
                      Case 2:20-cr-00817-JMV   Document 9 Filed 09/25/20 Page 3 of 3 PageID: 37
                                          ADVICE OF PENALTIES AND SANCTIONS

 TO THE DEFENDANT:

 YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:
                            Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
  revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in imprisonment, a
  fine, or both.
               While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years and
  for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be consecutive (i.e.,
  in addition to) to any other sentence you receive.
               It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation; tamper with a
  witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt to intimidate a
  witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious if
  they involve a killing or attempted killing.
               If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence, you may be
  prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
                    (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more – you will be fined
                          not more than $250,000 or imprisoned for not more than 10 years, or both;
                    (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years – you will be fined not
                          more than $250,000 or imprisoned for not more than five years, or both;
                    (3) any other felony – you will be fined not more than $250,000 or imprisoned not more than two years, or both;
                    (4) a misdemeanor – you will be fined not more than $100,000 or imprisoned not more than one year, or both.
                    A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
  addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                          Acknowledgment of the Defendant

                   I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
  of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.

                                                                           s/ Lisa Curty *
                                                                                         Defendant’s Signature

                                                                                     Newark, New Jersey
                                                                                             City and State             *Defendant consented to
                                                                                                                        electronic signature pending
                                                       Directions to the United States Marshal                          original signature.

      (X ) The defendant is ORDERED released after processing.
      ( ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant has
           posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before the
           appropriate judge at the time and place specified.

     Date:    9/25/2020
                                                                                       Judicial Officer’s Signature

                                                                  John Michael Vazquez, U.S.D.J.
                                                                                        Printed name and title




DNJ-CR-019((REV. 1/09)(modified AO-199)                                                                                                           Page 3
